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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            Case No. 20- 22485-Civ-Cooke/Goodman

   STEVEN J. TYMAN, individually and on behalf                )
   Of all other similarly situated,                           )
                                                              )
          Plaintiff,                                          )
                                                              )
   v.                                                         )
                                                              )
   FORD MOTOR COMPANY and LORENZO                             )
   ENTERPRISES CORP. d/b/a LORENZO FORD                       )
                                                              )
          Defendants.                                         )


     DEFENDANT, LORENZO ENTERPRISES CORP. d/b/a LORENZO FORD’S,
    MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS AND/OR
       MOTION TO STAY COUNT III OF PLAINTIFF’S COMPLAINT UNTIL
   COMPLIANCE WITH CONDITIONS PRECEDENT UNDER CHAPTER 501, FLA.
      STAT., AND INCORPORATED MEMORANDUM OF LAW IN SUPPORT

          Defendant, Lorenzo Enterprises Corp. d/b/a Lorenzo Ford (hereafter “Lorenzo
   Ford” or “Defendant”), hereby moves this Honorable Court to enter an order compelling
   Plaintiff, Steven J. Tyman (“Mr. Tyman”) to submit to binding arbitration all of his claims
   against Lorenzo Ford plead in Plaintiff’s Complaint (Dkt. 1). Defendant also moves the Court
   for an order staying the proceedings as to Count III of Plaintiff’s Complaint until Plaintiff
   complies with statutory conditions precedent to initiate suit against Defendant under Section
   501.98, Fla. Stat. In support, Defendant includes the below incorporated memorandum of
   law, stating:
                                            Introduction
          Pursuant to applicable Federal and Florida law, Plaintiff’s, Steven J. Tyman, claims
   must be arbitrated and not litigated in court, because the Plaintiff entered into an enforceable
   arbitration agreement as part of the transaction with Lorenzo Ford. All of Plaintiff’s claims
   against Lorenzo Ford derive from a vehicle lease transaction that occurred on October 19th
   and 20th, 2019, which was consummated by a Florida Motor Vehicle Lease Agreement and
   Retail Lease Order executed by the parties. Both contracts include an express agreement to


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   arbitrate disputes between the parties. Plaintiff also agreed to waive his right to participate as
   a class representative or a class member in any class claim. Since a valid written agreement
   to arbitrate exists, the claims concern arbitrable issues, and arbitration has not been waived,
   enforcement of the arbitration agreement is required as a matter of law. For these reasons
   and the reasons explained below, this Court must compel arbitration and stay all proceedings
   pending the final outcome of arbitration.
                                    Factual and Procedural Background
           On or about October 19th and 20th, 2019, Plaintiff presented to Lorenzo Ford in
   Homestead, Florida where he leased a new model year 2020 Ford Explorer. Dkt. 1, ¶ 34.
   Plaintiff brings four causes of action against Lorenzo Ford (violation of the Florida Deceptive
   and Unfair Trade Practices Act, “FDUPTA” [Count III], Fraud/Fraudulent Concealment
   [Count IV], Negligence [Count V], and Negligent Misrepresentation [Count VI]), all of which
   concern the allegation that Lorenzo Ford intentionally and/or negligently misrepresented to
   Plaintiff (and Ford Motor Company) that it performed required recall service to the Plaintiff’s
   vehicle prior to the lease, when it had not. 1 Dkt. 1, ¶¶ 71, 73, 74, 77, 78, 82-84, 90-92.
           Mr. Tyman alleges that he suffered damages when he leased the new motor vehicle
   from Lorenzo Ford, relied on Lorenzo Ford’s misrepresentations or omissions related to the
   condition of the vehicle and the performance of recall work, and decided to lease a vehicle he
   “would not have leased” or “would have paid less [for]” had he known he would be
   responsible for paying for the recall work. Dkt. 1, ¶¶ 71, 73, 74, 77, 78, 82-84, 90-92.
                              The Parties Agreement to Arbitrate Disputes
           It is undisputed that Mr. Tyman and Lorenzo Ford (the “Parties”) executed a Retail
   Lease Order and a Florida Motor Vehicle Lease Agreement (hereafter “MVLA”) to lease the
   new 2020 Ford Explorer. As is customary in the lease or purchase of vehicles across the
   country, the parties executed a Retail Lease Order which consummates the customer’s
   agreement to lease the vehicle from the dealer and the parties’ also executed a MVLA which
   concerns their agreement related to the financing of the lease (in this case through Ford Motor
   Credit Company). Both contracts are executed, along with various other documents, as part


   1
     Plaintiff’s Complaint brings two class action causes of action against Ford Motor Company (Count I and II)
   and four individual claims against Lorenzo Ford (Count III – IV). Dkt. 1. If Plaintiff asserts that Count I and
   II are also against Lorenzo Ford, these claims also require arbitration.


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   of the lease transaction. A true and correct copy of the MVLA is attached to the Declaration
   of Miguel Ranilla as Exhibit 1(A). See Exhibit 1: Decla. of M. Ranilla. A true and correct copy
   of the Retail Lease Order is attached to the Declaration of Miguel Ranilla as Exhibit (1)B. 2
   Id. The MVLA was executed via e-signature by Mr. Tyman and expressly included the
   arbitration provision below:




           The MVLA further stated on the page for Mr. Tyman’s signature: “YOU
   ACKNOWLEDGE THAT YOU HAVE READ AND AGREE TO BE BOUND BY THE
   ARBITRATION PROVISION IN THIS CONTRACT.” See Ex. 1: Decla. of M. Ranilla, ex. A,

   2
     While Plaintiff’s Complaint does not attach the Florida Motor Vehicle Lease Agreement or Retail Lease Order,
   applicable caselaw is clear that consideration of relevant materials outside of the “four corners of the complaint”
   is entirely appropriate where a party brings a motion to dismiss under Rule 12(b)(1) for lack of subject matter
   jurisdiction. Mamani v. Sanchez Berzain, 636 F. Supp. 2d 1326, 1329 (S.D. Fla. 2009); See Garcia v. Kendall Lakes
   Automotive, LLC, 2019 WL 1359475 (S.D. FL 2019) (“Accordingly, in ruling on a motion to compel arbitration,
   the Court may consider matters outside of the four corners of the complaint”). The Eleventh Circuit treats a
   motion to compel arbitration as a Rule 12(b)(1) motion to dismiss for lack of subject matter jurisdiction. Id.



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   pg. 8 of 8. The MVLA’s arbitration provision also expressly states: “[t]his contract is subject
   to the Federal Arbitration Act (9 U.S.C. § 1, et seq.).” Id.
          The Retail Lease Order included a substantively equivalent provision below:




   See Ex 1: Decla. of M. Ranilla, ex. B, pg. 4. The Retail Lease Order was also executed by the
   parties and next to Mr. Tyman’s signature is the acknowledgment: “You have read each page
   of this Order and Agreement, including the arbitration provision on the reverse side, and agree
   to its terms.” Id. Under Florida law, when parties to a contract execute two or more
   documents concurrently in the course of one transaction concerning the same subject matter,
   as the Parties did here, the documents must be read and construed together. Dodge City, Inc.
   v. Byrne, 693 So. 2d 1033, 1035 (Fla. 2d DCA 1997); See Morris v. Sheehan Buick Pontiac GMC,
   Inc., 2012 WL 12894289 (S.D. Fla. 2012).
                              The Federal Arbitration Act (“FAA”)
          It is well-settled law that the FAA evinces a liberal federal policy favoring arbitration.
   Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 35 (1991); Hemispherx Biopharma, Inc. v.
   Johannesburg Consol. Invs., 553 F.3d 1351, 1366 (11th Cir. 2008) (quoting Moses H. Cone Mem.
   Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983)). By enacting the FAA, Congress intended
   to avoid the unnecessary expense and delay of litigation where parties had provided for the



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   more efficient process of arbitration. Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S.
   395, 404 (1967). Federal policy, therefore, requires courts to “construe arbitration clauses
   generously, resolving all doubts in favor of arbitration.” Becker v. Davis, 491 F.3d 1292, 1305
   (11th Cir. 2007).
          “By its terms, the [FAA] leaves no room for the exercise of discretion by a district
   court, but instead mandates that district courts shall direct the parties to proceed to arbitration
   on issues as to which an arbitration agreement has been signed.” Dean Witter Reynolds, Inc. v.
   Byrd, 470 U.S. 213, 213 (1985); John B. Goodman Ltd. v. THF Constr., Inc., 321 F.3d 1094, 1095
   (11th Cir. 2003) (“Under the FAA, 9 U.S.C. § 1 et seq., a district court must grant a motion
   to compel arbitration if it is satisfied that the parties actually agreed to arbitrate the dispute.”).
          Under the FAA, “parties [to an arbitration agreement] are generally free to structure
   their arbitration agreements as they see fit.” Volt Info. Scis., Inc. v. Bd. of Trs. of Leland Stanford
   Jr. Univ., 489 U.S. 468, 479 (1989). State laws that stand as an obstacle to the accomplishment
   and execution of the full purposes and objectives of Congress in enacting the FAA are
   preempted. AT&T Mobility LLC v. Concepcion, 131 S.Ct. 1740, 1745 (2011).
          Although the FAA governs the applicability of arbitration agreements, state law
   governs issues “concerning the validity, revocability, and enforceability of contracts
   generally.” Perry v. Thomas, 482 U.S. 483, 492 n.9, 107 S. Ct. 2520, 96 L.Ed.2d 426 (1987);
   See Smart v. Bob Wilson Dodge Inc., 2006 WL 1037113 (M.D. Fla. 2006)(“It is now an axiom
   of federal and Florida law that written agreements to arbitrate are binding and enforceable,
   and that in the absence of waiver a court must compel arbitration when an arbitration
   agreement and an arbitrable issue exist”).
                    All Requirements for Ordering Arbitration Have Been Met
          When presented with a motion to compel arbitration in Florida, a district court is
   tasked to consider three factors: (1) whether a valid agreement to arbitrate exists; (2) whether
   an arbitrable issue exists; and (3) whether the right to arbitrate was waived. Nat’l Auto Lenders
   Inc. v. Sys Locate, Inc., 686 F. Supp. 2d 1318, 1322 (S.D. Fla.2010) (citation omitted); see also,
   Seifert v. U.S. Home Corp., 750 So. 2d 633 (Fla. 1999)) (“Under both federal and Florida law,
   there are three factors for the court to consider in determining a party’s right to arbitrate: (1)
   a written agreement exists between the parties containing an arbitration clause; (2) an
   arbitrable issue exists; and (3) the right to arbitration has not been waived.”).


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           Here, all three factors are clearly satisfied, and Plaintiff’s claims against Lorenzo Ford
   should be compelled to arbitration.
                 1.      A Valid Agreement to Arbitrate Exists Between the Parties
           It cannot be disputed that the parties entered a MVLA which included the agreement
   to arbitrate shown above. See Ex. 1: Decla. of M. Ranilla, ex. A, pg. 7 of 8. It also cannot be
   disputed that the parties executed the Retail Lease Order. See Ex. 1: Decla. of M. Ranilla, ex. B.
   While Plaintiff’s Complaint does not attach the MVLA or Retail Lease Order, the Complaint
   makes clear that Mr. Tyman leased a new model Ford Explorer from Lorenzo Ford on or
   about October 19th and 20th, 2019. See Dkt. 1, ¶ 10.             In doing so, the parties’ executed the
   MVLA and Retail Lease Order.
           The e-signature on the MVLA does not make the contract any less enforceable. In
   1996, Florida enacted the “Electronic Signature Act” which specifically provides that
   “[u]nless otherwise prohibited by law, an electronic signature may be used to sign a writing
   and shall have the same force and effect as a written signature,” § 668.004, Fla. Stat. (2003).
   Thus, there is no basis to dispute the legitimacy of the MVLA. See CEFCO v. Odom, 278 So.
   3d 347 (Fla. 1st DCA 2019) (compelling arbitration for a contract executed electronically and
   stating succinctly “[e]lectronic signatures are valid”); See also Haire v. Fla. Dep't of Agric. &
   Consumer Servs., 870 So. 2d 774, 789 (Fla. 2004). 3
           Second, by executing the documents, Plaintiff is unable to claim that he did not
   otherwise agree to arbitrate his claims with Defendant. Under Florida law, a party who signs
   an instrument is presumed to know its contents. Benoay v. E.F. Hutton & Co., Inc., 699 F. Supp.
   1523, 1529 (S.D. Fla. 1988) (analyzing Florida law). That party “cannot avoid his obligations
   thereunder by alleging that he did not read the contract, or that the terms were not explained
   to him, or that he did not understand the provisions.” Id.; see also Linville v. Ginn Real Estate
   Co., LLC, 697 F. Supp. 2d 1302, 1308-09 (M.D. Fla. 2010). Courts considering similar Florida
   motor vehicle sale contracts have consistently concluded that a customer who executed the
   contract could not avoid an obligation to arbitrate by alleging they simply did not read or
   understand the provision. See Falcon v. Carmax, 2018 WL 3699336 (S.D. Fla. 2018) (Report
   and Recommendation adopted at 2018 WL 3696742); Murphy v. Courtesy Ford, LLC, 944 So.

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    In fact, no signature is required to satisfy the FAA's written agreement requirement. BDO Seidman, LLP v. Bee,
   970 So. 2d 869, 874 (Fla. 4th DCA 2007)


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   2d 1131, 1134 (Fla. 3d DCA 2006).
          Consequently, the first factor (a valid agreement to arbitrate) has been established.
        The Arbitration Provision is Not Procedurally or Substantively Unconscionable
          Once it has been determined that an agreement to arbitrate exists between the parties,
   it is possible for the provision to nevertheless be determined to be unenforceable because it is
   “unconscionable.” Here, the arbitration agreement is not unconscionable as binding caselaw
   has already made clear that arbitration provisions related to the purchase of a motor vehicle
   nearly identical to the MVLA and Retail Lease Order in this case, are not unconscionable.
   See Falcon, 2018 WL 3699336. Nevertheless, Defendant provides the applicable tests below.
          To find a contract unconscionable under Florida law, a party must establish that the
   contract is both procedurally and substantively unconscionable. Golden v. Mobil Oil Corp., 882
   F.2d 490, 493 (11th Cir. 1989). The party seeking to avoid the arbitration provision has the
   burden to establish unconscionability. Murphy, 944 So. 2d at *1134.
          a. Procedural Unconscionability
          In Falcon, this District considered a substantively identical arbitration provision which
   was included in a contract for the purchase of a motor vehicle and included a waiver of the
   plaintiff’s right to participate in a class action. 2018 WL 3699336 at *1. This Court concluded
   that enforcement of the provision was permitted (and not procedurally unconscionable)
   notwithstanding the Plaintiff’s allegations that it was an adhesion contract and that he was
   “rushed” through his review of the documents. Id. at *4. This Court reasoned that the contract
   was not an adhesion contract because the customer maintained the ability to walk away from
   the dealership and that the review of the documents was a responsibility of the purchaser in
   deciding to executed the agreement, not one that was invalid because he was “rushed.” Id. at
   *5. Other Florida courts have made identical decisions. See e.g., Murphy, 944 So. 2d at 1134
   (finding arbitration agreement procedurally conscionable even though the car dealership that
   drafted the agreement testified “that it was not their practice to inform customers of terms on
   the back or of the arbitration provision, and they did not inform the buyer of these terms.”);
   See also Garcia, 2019 WL 1359475 at *6.
          b. Substantive Unconscionability
          The court in Falcon also explained that the arbitration provision was substantively
   conscionable despite its inclusion of a class action waiver provision based on the United States


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   Supreme Court’s precedent in AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 352 (2011),
   which found that any state law prohibition on the inclusion of a class action waiver within
   the terms of an arbitration provision “interferes with the fundamental attributes of arbitration
   and thus creates a scheme inconsistent with the FAA.” Falcon, 2018 WL 3699336 at *5
   (quoting Concepcion, 563 U.S. at 344); See Cruz v. Cingular Wireless, LLC, 648 F.3d 1205, 1212-
   13 (11th Cir. 2011) (“[T]o the extent that Florida law would be sympathetic to the Plaintiffs'
   arguments here, and would invalidate the class waiver simply because the claims are of small
   value, the potential claims are numerous, and many consumers might not know about or
   pursue their potential claims absent class procedures, such a state policy stands as an obstacle
   to the FAA’s objective of enforcing arbitration agreements to their terms, and is preempted”).
           This District in Falcon reasoned that since the arbitration provision authorized the
   arbitrator to award “all individual remedies permitted by the substantive law that would
   apply” there was no other basis for the plaintiff to assert that the arbitration provision was
   substantively unconscionable. Falcon, 2018 WL 3699336 at *6. The court additionally
   acknowledged that claims brought under FDUTPA “have regularly been referred to
   arbitration.” Id.; See e.g. Cruz, 648 F.3d at 1216 (enforcing arbitration clause that involved
   FDUTPA claim); See Murphy, 944 So. 2d at 1133; See Beazer Homes Corp. v. Bailey, 940 So. 2d
   453, 461 (Fla. 5th DCA 2006).
           The issue here is identical to the situation this District ruled on, and referred to
   arbitration, in Falcon. See 2018 WL 3699336 at *7. Mr. Tyman is unable to claim that he did
   not agree to arbitration or that the terms were withheld from him. Likewise, Mr. Tyman
   retains all of the individual remedies under substantive law. Since the parties’ agreement to
   arbitrate was not procedurally unconscionable, it is a valid arbitration agreement under
   Florida law and any substantive unconscionability need not be considered. Id.
           Even if it the parties’ agreement to the arbitration provision was determined to be
   procedurally unconscionable, the agreement would still be valid as it is substantively
   conscionable.
           The arbitration provision in this case includes a class action waiver but the United
   States Supreme Court has foreclosed any argument that this is unconscionable. 4 See

   4
    The Complaint does not bring class action claims against Lorenzo Ford, so it is not clear that this analysis is
   even necessary. Nevertheless, binding caselaw is clear that this would not be a basis to rule arbitration


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   Concepcion, 563 U.S. at 352 (ruling that a state whose public policy found waiver of class action
   rights unconscionable, as preempted by the FAA). The 11th Circuit and Florida Supreme
   Court have both acknowledged the application of Concepcion to foreclose any legal argument
   that a class action waiver makes arbitration unenforceable. See e.g. Cruz, 648 F.3d at 1205; See
   McKenzie Check Advance of Florida, LLC v. Betts, 112 So. 3d 1176, 1180 (Fla. 2013).
           Besides the class action waiver, the MVLA’s arbitration provision is exactly like the
   one in Falcon which was determined to be valid and enforceable. 2018 WL 3699336 at *7.
   The Parties’ arbitration provisions do not limit Mr. Tyman’s individual remedies, his ability
   to recover attorney’s fees permitted by applicable law, and does not impose unreasonable
   costs. See Ex. 1: Decla. of M. Ranilla, ex. A & B. There is no basis in law or fact for the Court to
   hold that the agreement to arbitrate is not valid.
               2.     Plaintiff’s Claims against Lorenzo Ford are Arbitrable Issues
           An order compelling arbitration is further required as the Parties’ entered a valid
   arbitration agreement and Plaintiff’s Complaint brings arbitrable issues under the arbitration
   provision. Each of Plaintiff’s claims against Lorenzo Ford arises from the parties' unique
   contractual relationship, thus the claims are arbitrable issues under the Parties agreement.
   This District has already examined a similar arbitration provision and determined that claims
   related to the condition of a vehicle purchased from a dealership were arbitrable. See e.g.
   Falcon, 2018 WL 3699336 at *1 (compelling arbitration of claims of FDUTPA and negligence
   brought against a motor vehicle dealership).
           “[T]he party seeking to avoid arbitration bears the burden of establishing that Congress
   intended to preclude arbitration of the statutory claims as issue” Garcia, 2019 WL 1359475 at
   *3 (citing Green Tree Fin. Corp.-Alabama v. Randolph, 531 U.S. 79, 92, 121 S.Ct. 513, 148
   L.Ed.2d 373 (2000)). All doubts regarding the scope of an arbitration agreement must be
   resolved in favor of arbitration. Qubty v. Nagda, 817 So.2d 952, 956 (Fla. 5th DCA 2002).
                            The Arbitration Provision is Broad in Scope
           The MVLA’s arbitration provision states from the very beginning that arbitration is a
   method of “resolving any claim, dispute, or controversy.” See Ex. 1: Decla. of M. Ranilla, ex. A,
   pg. 7 of 8. It states that the parties “may choose at any time, including after a lawsuit is filed,



   unenforceable.


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   to have any Claim related to this contract decided by arbitration.” Id. (emphasis added).
          “Claims include but are not limited to the following: 1) Claims in contract, tort,
   regulatory or otherwise; 2) Claims regarding the interpretation, scope, or validity of this
   provision, or arbitrability of any issue except for class certification; 3) Claims between you
   and us, our employees, agents, successors, assigns, subsidiaries, or affiliates; 4) Claims arising
   out of or relating to your application for credit, this contract, or any resulting transaction or
   relationship, including that with the dealer, or any such relationship with third parties who do
   not sign this contract.” Id. (emphasis added).
          The Retail Lease Order is identical in its scope. See Ex. 1: Decla. of M. Ranilla, ex. B, pg.
   4. It states that “any claims or dispute, whether in contract, tort, statute or
   otherwise…between you and us…, which arises out of or related to your credit application,
   purchase or condition of this Vehicle, this Order and Agreement or any resulting transaction
   or relationship… shall… be resolved by neutral, binding arbitration.” Id. While equally broad
   in its scope, the provision specifically acknowledges that disputes related to the “condition”
   of the vehicle are within the scope of arbitration. Id.
          The 11th Circuit has expressly recognized Florida law differentiates between clauses
   which agree to arbitrate claims only “arising from” the contract and provisions which more
   broadly agree to arbitrate claims “arising from and related to” the contract.
          In analyzing the scope of an arbitration clause, Florida courts draw a
          distinction between clauses that require arbitration of claims “arising out of”
          the subject contract and those that require arbitration of claims “arising out of
          or relating to” the contract. See Jackson v. Shakespeare Found., Inc., 108 So.3d
          587, 593 (Fla. 2013) (emphasis in original). The former are considered to be
          “narrow in scope” and apply only to “those claims that have a direct
          relationship to a contract’s terms and provisions.” Id. The latter are considered
          to be “broad in scope” and apply to “claims that are described as having a
          ‘significant relationship’ to the contract—regardless of whether the claim is
          founded in tort or contract law.” Id. (quoting Seifert v. U.S. Home Corp., 750
          So.2d 633, 637–38 (Fla. 1999)).

   Leidel v. Coinbase, Inc., 729 Fed. Appx. 883, 887 (11th Cir. 2018)
          The arbitration agreement between Plaintiff and Lorenzo Ford is facially in the “broad
   in scope” camp. See Ex. 1: Decla. of M. Ranilla, ex. A, pg. 7 of 8 (“Claims include but are not
   limited to the following: 1) Claims in contract, tort, regulatory or otherwise;... 4) Claims
   arising out of or relating to … this contract, or any resulting transaction or relationship”); Id.,


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   Ex. B, pg. 4 (“any claims or dispute, whether in contract, tort, statute or otherwise…between
   you and us…, which arises out of or related to your credit application, purchase or condition
   of this Vehicle, this Order and Agreement or any resulting transaction or relationship”). Thus,
   the Plaintiff’s claims are arbitrable if there is a contractual nexus or relationship between the
   claims and the contract.
                        A Contractual Nexus Exists Between the
      MVLA and Retail Lease Order and each of Plaintiff’s Claims against Lorenzo Ford
           A review of Plaintiff’s Complaint shows that each of Plaintiff’s claims against Lorenzo
   Ford arise from the parties' unique contractual relationship, thus the claims are arbitrable
   issues under the Parties agreement.
          To determine if a particular claim is within the scope of the arbitration provision
   depends on the existence of some nexus between the dispute and the contract containing the
   arbitration clause. Vivas v. Safra National Bank of New York, 2010 WL 11602462 (S.D. Fla.
   2010). Meaning, the claims must be the type of claims the parties agreed to arbitrate. The test
   to determine whether a significant relationship or nexus exists has been summarized as
   follows:
          “[A] significant relationship is described to exist between an arbitration
          provision and a claim if there is a “contractual nexus” between the claim and
          the contract. A contractual nexus exists between a claim and a contract if the
          claim presents circumstances in which the resolution of the disputed issue
          requires either reference to, or construction of, a portion of the contract. More
          specifically, a claim has a nexus to a contract and arises from the terms of
          the contract if it emanates from an inimitable duty created by the parties'
          unique contractual relationship. In contrast, a claim does not have a nexus
          to a contract if it pertains to the breach of a duty otherwise imposed by law
          or in recognition of public policy, such as a duty under the general common
          law owed not only to the contracting parties but also to third parties and
          the public.

   Jackson, 108 So.3d at 593 (internal citations omitted).
          While a “significant relationship” does not exist merely because the parties in the
   dispute have a contractual relationship, Id. at 593, it does exist where the claims are
   inextricably intertwined with both the circumstances that surrounded the transaction from
   which the contract emanated and the contract itself. See Newco Energy Acquisitions Holdings,
   LLC v. Shulgen, 2013 WL 12149763 (S.D. Fla. 2013). This is regardless if the claims are



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   brought as a breach cause of action, or instead as a tort. Stacy David, Inc. v. Consuegra, 845 So.
   2d 303, 305 (Fla. 2d DCA 2003) (“Deciding whether a particular claim is covered by a broad
   arbitration provision requires a determination of whether a significant relationship exists
   between the claim and the agreement containing the arbitration clause, regardless of the legal
   label attached to the dispute”).
           Where the plaintiff’s claims, even tort claims of negligence, arise from a duty deriving
   from the parties’ contractual relationship, the claim is properly arbitrable. See e.g. Falcon, 2018
   WL 3699336; See Vivas, 2010 WL 11602462.
           In Falcon, a consumer purchased a vehicle from a dealership and brought claims of
   breach of contract, negligence, and violation of FDUTA, after the vehicle immediately began
   experiencing mechanical problems during its first day of use. 2018 WL 369936 at *1. The
   court granted the dealership’s motion to compel arbitration as to all of the plaintiff’s claims
   determining that the claims related to the condition of the vehicle and a contractual nexus
   existed. Id. at *7.
           In Vivas v. Safra National Bank of New York, a family opened a bank account with
   defendant, a bank, which was substantially depleted due to several high-risk investments by
   which plaintiffs alleged they did not authorize. 2010 WL 11602462 at *3. The bank attempted
   to compel the claims to arbitration based on a contract executed by the parties. Id. The
   plaintiffs argued their tort causes of action for fraud, negligent supervision, conversion, and
   gross negligence were not arbitrable as they were causes of action “not governed by the
   contract, or imposed by a ‘unique relationship’ between the parties by virtue of the existence
   of an underlying contract” and were instead related to “duties that are based in law in
   furtherance of public policy.” Id. at *9. This Court rejected this argument reasoning:
           “It is true that the tort causes of action brought by the Plaintiffs reflect
           considerations of public policy and duties generally owed to others outside of
           contractual relationships. But the Plaintiffs are incorrect in arguing that the
           contract in this case did not place the Parties in a “unique relationship.” In fact,
           the Parties would have no relationship if the Plaintiffs had decided against
           banking with the Defendant. In other words, all the causes of action brought
           by the Plaintiffs “raise[ ] an issue that requires reference to or construction of
           some portion of the contract for resolution.” Maguire v. King, 917 So.2d 263,
           266 (Fla. 5th DCA 2005) (“Arbitrability depends on the relationship between
           the claim and the agreement, not the legal label attached to the dispute.”). The
           contractual relationship between the Parties in this case is not incidental or
           secondary in importance, but rather it serves as the foundation of their


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           relationship and the sole reason they are in dispute. As such, the tort claims
           raised by the Plaintiffs would be “nonsensical when divorced from the
           contractual obligations [in dispute].” Id. at 266.

   Vivas, 2010 WL 11602462 at *8. 5
                                 Plaintiff’s Claims Against Lorenzo Ford
           A review of Plaintiff’s four individual causes of actions against Lorenzo Ford makes
   clear each are inextricably intertwined to the parties’ contracts. The Plaintiff’s claims of a
   violation of FDUPTA, Fraud/Fraudulent Concealment, Negligence, and Negligent
   Misrepresentation, all concern the allegation that Lorenzo Ford intentionally and/or
   negligently misrepresented to Plaintiff that it had performed required recall service to
   Plaintiff’s vehicle prior to the lease, when it had not. Dkt, 1, ¶¶ 10, 53-56, 77-79, 80-85. It is this
   alleged misrepresentation or omission about the condition of the vehicle, as well as
   misrepresentations allegedly made by Lorenzo Ford to Ford Motor Company that it had done
   the recall repairs, which are the basis for Plaintiff’s general assertion that he did not receive
   the full value of his bargain with Defendant when he leased the 2020 Ford Explorer. Id., ¶¶
   55, 73-74, 77, 93. This is especially clear as Plaintiff’s Complaint culminates by seeking
   recovery of damages as he “would not have leased the 2020 Ford Explorer, or would have
   paid less for the vehicle” if not for Defendant’s alleged misrepresentations or material
   omissions. Id., ¶¶ 73, 74, 77, 93.
           The claims do not represent breach of duties generally owed by Defendant to others
   besides the contracting parties, but duties that only arose when the parties entered the lease
   agreement. Vivas, 2010 WL 11602462 at *10 (“The contractual relationship between the
   Parties in this case is not incidental or secondary in importance, but rather it serves as the
   foundation of their relationship and the sole reason they are in dispute”). Plaintiff seeks
   recovery of damages for a difference between what he paid and the contract price he would

   5
     Compare this with a case where the plaintiff brought claims related to duties generally owed by the defendant
   to anyone, and not arising from a contractual relationship. Seifert v. U.S. Home Corp., 750 So.2d 633 (Fla. 1999)
   In Seifert, a homeowner brought a wrongful death claim against her contractor after an incorrectly installed air
   conditioning system caused carbon monoxide emissions from a car in the garage to be distributed into the home,
   killing her husband. 750 So.2d 633 at *634. The Florida Supreme Court determined that the homeowner’s
   wrongful death negligence claims did not have a “contractual nexus” as the particular tort claim against the
   contractor represented a duty generally owed by the contractor to anyone who entered the home, and did not
   depend on the existence of the contractual relationship between the parties. Id. at *639 (“These allegations rely
   on obligations that would extend to anyone, third parties as well as the [Homeowners], who might be injured
   by [defendant’s] tortious conduct”).


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   have paid had the dealership not misrepresented the condition of the vehicle. Id., ¶¶ 73, 74,
   77, 93. These claims and the damages they seek cannot be divorced from the two parties’
   unique contractual relationship, thus they are arbitrable. See Falcon, 2018 WL 3699336; See
   Vivas, 2010 WL 11602462.
          a. Count III – FDUTPA
          A long list of cases reveal that claims brought under FDUTPA have regularly been
   referred to arbitration. See generally, Cruz, 648 F.3d at 1216 (enforcing arbitration clause that
   involved FDUTPA claim); Murphy, 944 So. 2d at 1131(“Florida case law is clear that
   FDUTPA claims can properly be submitted to arbitration.”); Beazer Homes Corp. v. Bailey, 940
   So. 2d 453, 461 (Fla. 5th DCA 2006) (“If the statutory cause of action is based, as in this case,
   on matters growing out of a contract which covers the dispute, and relies on the same facts as
   the dispute which is subject to arbitration, there is no basis to exclude the FDUTPA issue
   from arbitration.”); Simattina Holdings, LLC v. Steri-Clean, Inc., 195 F. Supp. 3d 1285, 1291
   (S.D. Fla. 2016) (“In any event, the [FDUTPA] claim is arbitrable because whether
   Defendants made representations or omissions likely to mislead Plaintiff or violated a statute
   or rule proscribing unfair practices, the causation leading to any damages springs from
   Plaintiff entering into the Franchise Agreement.”); See also, Falcon, 2018 WL 3699336.
          Count III of Plaintiff’s Complaint alleges that Lorenzo Ford violated FDUPTA “by
   knowingly and intentionally leasing Plaintiff a new motor vehicle with open FSAs that had
   not been remedied and then falsely reporting that the FSA repairs on the Plaintiff’s vehicles
   had been done.” See Dkt. 1, ¶ 71. The claim continues stating:
          73. The facts concealed or not disclosed… are material in that a reasonable
          consumer would have considered them to be important in deciding whether to
          purchase or lease a new vehicle and at what price. Had Plaintiff known that
          FSAs on his 2020 Ford Explorer existed and had not been remedied and that
          he would ultimately be responsible for pay for the FSA repairs, Plaintiff would
          not have purchased the vehicle, or would have paid less for the vehicle.”

   See Dkt. 1, ¶ 73.
          There is no doubt that Plaintiff’s claims “emanates from an inimitable duty created by
   the parties' unique contractual relationship.” See Jackson, 108 So.3d at 593. Lorenzo Ford
   would certainly have no duty to disclose to Mr. Tyman materials facts about the condition of
   the new 2020 Ford Explorer, if it was not entering an agreement to lease Mr. Tyman the



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   vehicle. Mr. Tyman cannot assert that he would have “paid less for the vehicle” if there was
   not a higher price derived from MVLA and Retail Lease Order which he agreed to pay before
   he had knowledge of the allegedly omitted material facts about the condition of the vehicle.
   Dkt. 1, ¶ 73.
           Further, while Plaintiff does reference a regulatory requirement related to the
   performance of recall work, 49 U.S.C. §§ 30112(a), the Complaint correctly notes that the
   statute prohibits “manufacturers and dealers from selling new any vehicles that contain a
   safety defect for which a recall was issued.” See Dkt. 1, ¶ 15. (emphasis added). Thus,
   Defendant’s alleged “duty” under the statute could only arise if the dealership sold or leased
   a new motor vehicle. 49 U.S.C. §§ 30112(a). This fact requires reference to (and consideration
   of the construction of) the parties’ unique MVLA and Retail Lease Order which are the
   documents which represented to Mr. Tyman that the subject vehicle was “NEW” and that a
   lease occurred. See Ex. 1: Decla. of M. Ranilla, ex. A & B.
           The FDUTPA cause of action is especially reliant on the existence of the parties’
   contract, as FDUTPA only applies to deceptive or unfair “acts or practices in the conduct of
   any trade or commerce.” See Dkt. 1, ¶ 69 (quoting Fla. Stat. § 501.202 & 204). Plaintiff asserts
   that Lorenzo Ford was engaging in “trade or commerce” by leasing the motor vehicle to Mr.
   Tyman, thus, it cannot then argue that its claim does not have a nexus to the parties’ contract. 6
   Id. at ¶ 69. If the dealership was not engaging in trade or commerce during their allegedly
   improper activities, FDUTPA would not apply. See Fla. Stat. § 501.204.
           b. Count IV – Fraud or Fraudulent Concealment
           Plaintiff’s fraud or fraudulent concealment claim is based on the very same allegations
   as the FDUTPA claim: that Lorenzo Ford “made material misrepresentations and omissions
   concerning a presently existing or past fact” when it “leased Plaintiff a new 2020 Ford
   Explorer with open FSAs without fully or truthfully disclosing to Plaintiff that the FSA’s
   existed and had not been remedied.” See Dkt. 1, ¶ 77. Thus, the nexus is the transaction which
   was consummated by the contract.


   6
     Fla. Stat. § 501.203(8): “Trade or commerce” means the advertising, soliciting, providing, offering, or
   distributing, whether by sale, rental, or otherwise, of any good or service, or any property, whether tangible or
   intangible, or any other article, commodity, or thing of value, wherever situated. “Trade or commerce” shall
   include the conduct of any trade or commerce, however denominated, including any nonprofit or not-for-profit
   person or activity.


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          The cause of action expressly alleges that “Plaintiff was fraudulently induced to lease a
   2020 Ford Explorer with open FSAs.” Id., ¶ 77 (emphasis added). Multiple Florida cases
   considering arbitration provisions have concluded that claims of fraudulent inducement
   necessarily relate to the party’s contract. See Passerrello v. Robert L. Lipton, Inc., 690 So.2d 610
   (Fla. 4th DCA 1997)(“It is well settled, however, that where the entire agreement is alleged
   to have been fraudulently induced, not the arbitration provision itself, the entire matter is to
   be resolved by arbitration.”); Berman v. Alamo Rent A Car, Inc., 717 So. 2d 165 (Fla. 4th DCA
   1998)(holding that employees claims that the employer made false statements that
   fraudulently induced him to enter into an employment relationship were arbitrable issues);
   Maguire v. King, 917 So.2d 263 (Fla. 5th DCA 2005)(“The alleged fraud and misrepresentation
   on behalf of [defendants] can only be seen as arising out of or relating to the obligations they
   assumed under their contract with [plaintiff], accordingly, the trial court's order concluding
   that [plaintiff’s] tort claims were not arbitrable was clearly erroneous.”); See also, Great W. Fin.
   Sec. Corp. v. Grandison, 701 So.2d 1202, 1203 (Fla. 5th DCA 1997).
          In Stacy David, 845 So. 2d 303, a consumer brought claims against a dealership related
   to the condition of a vehicle he purchased including claims under FDUTPA, of fraud, breach
   of warranty, and negligent misrepresentation after the consumer discovered allegedly
   undisclosed damage to the vehicle sustain prior to the sale. After the trial court denied a
   motion to compel arbitration, the Second DCA reversed that decision reasoning that “tort
   claims based on duties that are dependent upon the existence of a contractual relationship
   between the parties are normally arbitrable.” Id. at *306. It reasoned “the duties under
   theories such as fraud in the inducement of a contract, fraud in the performance of a contract,
   or negligent misrepresentation are duties dependent upon the existence of a contract
   relationship between the parties.” Id. at *306.
          Again, Plaintiff’s allegations of fraud by Lorenzo Ford emanates from a duty created
   by the parties' contractual relationship. In other words, Lorenzo Ford had no duty to disclose
   material facts about the condition of the vehicle to Mr. Tyman had the parties not entered an
   agreement whereby Lorenzo Ford leased him the motor vehicle.               Only Mr. Tyman has
   standing to bring a claim seeking damages related to the allegedly inflated price of the vehicle.
   This is not a duty or obligation owed by Lorenzo Ford to third parties in general. Mr. Tyman
   cannot allege to have been fraudulent induced but for a contract with terms he was allegedly


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   induced into accepting. This cause of action is therefore arbitrable.
          c. Count V – Negligence
          Plaintiff’s negligence cause of action alleges that “Lorenzo Ford leased Plaintiff a new
   2020 Ford Explorer with open FSAs without performing the repairs order by the FSAs in
   violation of federal law and Ford’s policies and procedures. In addition, Lorenzo Ford closed
   the FSAs indicating that the FSA repairs had been done when they had not been resulting in
   Plaintiff becoming responsible for paying for the FSA repairs.” See Dkt. 1, ¶ 82. It alleges
   “Lorenzo Ford had a duty to remedy any outstanding FSAs prior to leasing the 2020 Ford
   Explorer new to Plaintiff in order conform to federal law and Ford’s policies and procedures.”
   Id., ¶ 82. (emphasis added).
          Identical with the analysis of the prior claims, Plaintiff’s negligence claims inarguably
   arise from a duty that is unique to the parties’ contractual relationship. As Plaintiff’s
   Complaint asserts, Lorenzo Ford only had a duty to remedy outstanding FSAs when it chose
   to lease the 2020 Ford Explorer new to Plaintiff. See Dkt. 1, ¶ 82. Lorenzo Ford leased the
   vehicle to Plaintiff through the MVLA and Retail Lease Order. See Ex. 1: Decla. of M. Ranilla,
   ex. A & B. Review and consideration of the terms of the MVLA and Retail Lease Order reveals
   that the vehicle was leased to Plaintiff, and that it was leased as a “NEW” vehicle. Id. Plaintiff
   cannot avoid the arbitration agreement simply by ignoring it and alleging facts that it could
   only prove through a later presentation of the contracts.
          This type of negligence claim, while related to considerations of public policy, is not a
   duty owed to third parties in general, but a claim that cannot be divorced from the parties’
   lease contract. See e.g., Falcon, 2018 WL 3699336; See Vivas, 2010 WL 11602462.
          d. Negligent Misrepresentation
          Plaintiff’s last cause of action against Lorenzo Ford alleges that defendant “failed to
   use reasonable care when it leased Plaintiff a new 2020 Ford Explorer with open FSAs
   without performing the repairs ordered by the FSAs in violation of federal law and Ford’s
   policies and procedures.” Dkt. 1, ¶ 88.             “If not for Defendant, Lorenzo Ford’s
   misrepresentations and materials omissions, Plaintiff would not have leased the 2020 Ford
   Explorer, or would have paid less for the vehicle.” Dkt. 1, ¶ 93.
          This claim, like the above claims, is arbitrable and courts have ordered just that in
   similar circumstances. See e.g., Stacy David, 845 So. 2d 303 at 305. Plaintiff’s negligent


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   misrepresentation claim emanates from a duty created by the parties' contractual relationship;
   namely, the agreement of Lorenzo Ford to lease a new 2020 Ford Explorer to Plaintiff. See
   Ex. 1: Decla. of M. Ranilla, ex. A & B. This agreement, the MVLA and Retail lease Order, also
   contain an agreement that the parties could require disputes to be submitted to arbitration. Id.
   Enforcement of this arbitration agreement is required by law. Plaintiff cannot seek recovery
   of damages on the basis that he “would have paid less for the vehicle” if there was not a price
   that he did pay which is derived only from review of the terms of the MVLA. Id.
                    3.      Lorenzo Ford has Not Waived its Right to Arbitrate
          Finally, Lorenzo Ford has not waived its right to arbitration. Defendant moves to
   compel arbitration in response to being served with Plaintiff’s Complaint and has not
   otherwise attempted to defend the claim using the court. Plaintiff also has never attempted
   to arbitrate the claim and had this effort ignored be Defendant. See Falcon, 2018 WL 3699336
   at *7 (holding plaintiff’s argument that dealership waived right to arbitrate by not pre-
   emptively initiating arbitration was “nonsensical”).
            The Court Should Stay This Action Pending the Outcome of Arbitration
          Once this Court orders this matter to arbitration, the FAA requires that it stay the
   instant proceeding. Section 3 of the FAA provides:
          If any suit or proceeding be brought in any of the courts of the United States
          upon any issue referable to arbitration under an agreement in writing for such
          arbitration, the court in which such suit is pending, upon being satisfied that the
          issue involved in such suit or proceeding is referable to arbitration under such an
          agreement, shall on application of one of the parties stay the trial of the action until such
          arbitration has been had in accordance with the terms of the agreement ....

   9 U.S.C. § 3 (emphasis added).
          Cases interpreting this provision of the FAA state that, once the Court finds the parties’
   dispute referable to arbitration, it has no choice but to stay the action in response to a motion
   requesting the same. Complaint of Hornbeck Offshore (1984) Corp., 981 F.2d 752, 754 (5th Cir.
   1993) (Section 3 of the FAA is mandatory).
          The U.S. Supreme Court has specifically held that a stay is required under Section 3
   of the FAA when an arbitration provision is enforced against a non-signatory to the
   agreement. Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 631 (2009).




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    MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO STAY
    PROCEEDING TO REQUIRE PLAINTIFF’S COMPLIANCE WITH § 501.98, FLA.
                               STAT.

             Defendant, Lorenzo Ford, additionally moves this Court to stay the proceeding to
   require Plaintiff to comply with statutory conditions precedent under Fla. Stat. § 501.98 which
   requires the Plaintiff to send a 30 days pre-suit demand letter before bring claims against
   Lorenzo Ford under FDUTPA. See Fla. Stat. § 501.98.
             Chapter 501 includes specific provisions concerning the application of FDUTPA to
   motor vehicle dealers located in the State. See Fla. Stat. § 501.975-98. Section 501.98, Fla. Stat.
   states:
             “(1) As a condition precedent to initiating any civil litigation, including
             arbitration, arising under this chapter against a motor vehicle dealer, which
             may also include its employees, agents, principals, sureties, and insurers, a
             claimant must give the dealer a written demand letter at least 30 days before
             initiating the litigation.

             (2) The demand letter, which must be completed in good faith, must:

                    (a) State the name, address, and telephone number of the claimant.
                    (b) State the name and address of the dealer.
                    (c) Describe the underlying facts of the claim, including a statement
                        describing each item for which actual damages are claimed.
                    (d) State the amount of damages, or, if not available, the claimant’s
                        best estimate of the amount of damages.
                    (e) To the extent available to the claimant, be accompanied by all
                        transaction or other documents upon which the claim is based.”

             Section 501.98(8), Fla. Stat., further requires:
             “(8) If a claimant initiates civil litigation, including arbitration, without first
             complying with this section, the court or arbitrator shall stay the action upon
             timely motion until the claimant complies with this section. Attorney fees and
             court or arbitration costs incurred by the claimant before compliance with this
             section are not recoverable under this chapter.”

             Count III of Plaintiff’s Complaint brings individual claims under FDUTPA (Chapter
   501) against Lorenzo Ford. It is undisputed that Lorenzo Ford is a motor vehicle dealer. Dkt.
   1, ¶ 13. As a condition precedent to bringing claims against the motor vehicle dealer, Plaintiff


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   was required to provide a written demand letter at least 30 days before initiating litigation
   which complied with section 501.98(2), Fla. Stat. 7 Williams v. John Hall Chevrolet, Inc., 2017
   WL 11037517 (M.D. Fla. 2017)(staying claim and ordering Plaintiff to comply with
   conditions precedent under § 501.98, Fla. Stat.). Plaintiff did not comply with this condition
   precedent. See Ex. 1: Decla. of M. Ranilla, ¶ 6.
            Section 501.98(8), Fla. Stat. makes clear that if a plaintiff initiates civil litigation
   without first complying with this requirement “the court… shall stay the action upon timely
   motion by the claimant until claimant complies with this section.” Williams, 2017 WL
   11037517 at * 2 (“Thus, if a plaintiff initiates a civil action without complying with
   FDUTPA’s conditions precedent, the court is required to stay the action until the plaintiff
   complies with this section.”).
            Given Plaintiff’s failure comply with this requirement, this Court must stay the
   proceedings as to Count III until Plaintiff has complied with the conditions precedent for
   bringing litigation under FDUTPA against Lorenzo Ford. 8
            WHEREFORE, Defendant, Lorenzo Ford, by and through undersigned counsel,
   would respectfully request that this Court enter an Order granting Defendant's Motion to
   Compel Arbitration as to each of the claims by Plaintiff against Lorenzo Ford and enter an
   order Staying the Proceedings pending binding arbitration. Defendant, also respectfully
   request that this Court enter an Order granting the Motion to Stay the proceeding as to Count
   III until Plaintiff complies with conditions precedent under Section 501.98, Fla. Stat., and/or
   direct such actions before initiating arbitration, as well as any other relief the Court deems
   proper. Lorenzo Ford reserves any and all defenses to the Complaint.
                                      CERTIFICATE OF CONFERRAL
            Pursuant to Local Rule 7.1(a)(3), counsel for Defendant has conferred with counsel
   for Plaintiff in a good faith effort to resolve the issues raised herein and has been unable to do


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     This requirement is not insignificant, as § 501.98(4)(a), Fla. Stat. makes clear that “[a] claimant may not initiate
   civil litigation, including arbitration, against a dealer … for a claim arising under this chapter related to, or in
   connection with, the transaction or event described in the demand letter if, within 30 days after receipt of the
   demand letter, the dealer pays the claimant the amount sought in the demand letter, plus a surcharge of the lesser
   of $500 or 10 percent of the damages claimed.” Thus, the pre-suit requirements allow motor vehicle dealers to
   resolve these matters early on so as to avoid unnecessary litigation.
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     Count I of the Complaint brings FDUTPA claims against Ford Motor Company, not Lorenzo Ford. In the
   event that Plaintiff asserts Count I’s claims are also directed at Lorenzo Ford, this count would also need to be
   stayed.


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   so.
   Dated: July 23, 2020

                                                   Respectfully submitted,

                                                   BASS SOX MERCER

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                                  CERTIFICATE OF SERVICE
          I hereby certify that on July 23, 2020, I electronically filed the foregoing motion with
   the Clerk of the Court using the CM/ECF system which will send notification of such filing
   to the following at their e-mail address on file with the Court:
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